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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                   FORT SMITH DIVISION

 UNITED STATES OF AMERICA                                                                    PLAINTIFF

 v.                                     No. 2:13-CR-20037-005

 MARIA TERRESA HERNANDEZ                                                                  DEFENDANT

                                                 ORDER

          Currently before the Court is Defendant Maria Terresa Hernandez’s motion for bill of

 particulars (Doc. 172) pursuant to Fed. R. Crim. P. 7(f). The Government opposes the motion and

 has filed a response (Doc. 174).

          “The purpose of a bill of particulars is to adequately inform the defendant of the nature of

 the charges against [her] and to prevent or minimize the element of surprise at trial.” United States

 v. Miller, 543 F.2d 1221, 1224 (8th Cir. 1976), cert. denied, 429 U.S. 1108 (1977). A district court

 does not abuse its discretion in denying a defendant’s request for a bill of particulars where it is clear

 that the language of the indictment sufficiently apprises the defendant as to the nature of the pending

 charges. United States v. Matlock, 675 F.2d 981, 986 (8th Cir. 1982). “[A] bill of particulars is not

 a discovery device to be used to require the government to provide a detailed disclosure of the

 evidence that it will present at trial.” United States v. Livingstone, 576 F.3d 881, 883 (8th Cir.

 2009).

          Defendant has been charged with conspiracy to distribute methamphetamine from August

 1, 2012 to May 20, 2013, in violation of 21 U.S.C. §§ 841(a)(1) and 846. (Doc. 65). In reviewing

 the indictment, the Court finds that it sufficiently informs Defendant as to the nature of the charges

 against her. Count One of the indictment states that Defendant participated in a conspiracy to


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 distribute methamphetamine along with thirteen other co-defendants. The indictment lists the dates

 the conspiracy allegedly occurred, the place the conspiracy allegedly occurred, and the relevant

 criminal statutes implicated in the charges. Further, the Government represents that it provided

 Defendant with extensive discovery on July 10, 2013, including recordings of undercover purchases

 of methamphetamine made by Defendant’s alleged co-conspirators, wiretap interceptions relevant

 to the alleged conspiracy, and a report by law enforcement agents summarizing Defendant’s alleged

 admissions concerning her involvement in the conspiracy.

        Defendant’s motion for bill of particulars seeks detailed information regarding the charges

 listed in the indictment, including the exact dates, times, and places Defendant is alleged to have

 conspired to distribute methamphetamine; the names, addresses, aliases, and physical descriptions

 of all persons to whom Defendant allegedly distributed methamphetamine; the names and addresses

 of all persons the Government intends to rely upon during trial of this matter; the substance of all

 conversations the Government intends to rely upon at trial; the names and addresses of all alleged

 co-conspirators; and the date, time, place, and manner in which Defendant joined the alleged

 conspiracy. Such information is not properly sought through a motion for bill of particulars, as a bill

 of particulars is not intended to be used as a discovery device. See Livingstone, 576 F.3d at 883;

 Hemphill v. United States, 392 F.2d 45, 49 (8th Cir.), cert. denied, 393 U.S. 877 (1968)

 (“Acquisition of evidentiary detail is not the function of the bill of particulars.”). Accordingly,

 Defendant’s motion for bill of particulars is DENIED.

        IT IS SO ORDERED this 14th day of August, 2013.


                                                                /s/P. K. Holmes, III
                                                                P.K. HOLMES, III
                                                                CHIEF U.S. DISTRICT JUDGE

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